 Case 24-11029-1-rel        Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03             Desc
                               Main Document     Page 1 of 6


 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK


 In re:
                                                   Chapter 11
 PRIME CAPITAL VENTURES, LLC,
                                                   Case No. 24-11029 (REL)
                                      Debtor.



              MOTION FOR ADMISSION TO PRACTICE, PRO HAC VICE, OF
                           CHRISTOPHER R. BRYANT

          Phoebe A. Wilkinson (“Movant”), a partner with the law firm Hogan Lovells US LLP, and

a member in good standing of the Bar of the State of New York, admitted to practice before this

Court, moves for the admission pro hac vice of Christopher R. Bryant a counsel with the firm

Hogan Lovells LLP, pursuant to Local Bankruptcy Rule 2014-2, to act as counsel for Hogan

Lovells US LLP, in the above captioned bankruptcy case and any related adversary proceedings.

          Christopher R. Bryant is a member of the State Bar of New York (2001) and has been

admitted to practice in the Southern District of New York.

          Christopher R. Bryant is a member in good standing in all of the aforementioned

jurisdictions and is not subject to any pending disciplinary proceedings in any jurisdiction. See

attached Exhibit A, which is a true and correct copy of Christopher R. Bryant’s New York

Certificate of Good Standing.
 Case 24-11029-1-rel      Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03              Desc
                             Main Document     Page 2 of 6



       WHEREFORE, the undersigned respectfully requests that the Court enter an Order

admitting Christopher R. Bryant to practice, pro hac vice, before this Court for the purposes of

representing Hogan Lovells US LLP in the instant matter and any related adversary proceedings.




Dated: New York, New York                 Respectfully submitted,
        March 20, 2025                    HOGAN LOVELLS US LLP


                                          /s/ Phoebe A. Wilkinson
                                          Phoebe A. Wilkinson
                                          390 Madison Avenue
                                          New York, New York 10017
                                          Telephone: (212) 918-3000
                                          Facsimile: (212) 918-3100
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                                          Counsel to Hogan Lovells US LLP
 Case 24-11029-1-rel          Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03                  Desc
                                 Main Document     Page 3 of 6


 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK


 In re:
                                                       Chapter 11
 PRIME CAPITAL VENTURES, LLC,
                                                       Case No. 24-11029 (REL)
                                         Debtor.




DECLARATION IN SUPPORT OF MOTION FOR ADMISSION TO PRACTICE,
             PRO HAC VICE, OF CHRISTOPHER R. BRYANT

          I, Christopher R. Bryant, request admission, pro hac vice, to represent Hogan Lovells US

LLP, in the above captioned bankruptcy case and any related adversary proceedings.

          I am a resident of Suffolk County, New York, and practice law at the offices of Hogan

Lovells US LLP in New York County, New York.

          I certify that I am a member of the bar of the State of New York (2001) and have been

admitted to practice in the Southern District of New York.

          I certify that I am a member in good standing in the aforementioned jurisdictions and am

not subject to any pending disciplinary proceedings in any jurisdiction. I also certify that I have

never been convicted of a crime, either a felony or misdemeanor.

          I also certify that I am generally familiar with the provisions of the Judicial Code (Title 28

U.S.C.), which pertain to the jurisdiction of, and practice in, the United States Bankruptcy Courts;

the Bankruptcy Code (Title 11 U.S.C.); the Federal Rules of Bankruptcy Procedure; the Local

Rules of the Bankruptcy Court for the Northern District of New York; and the New York Rules of

Professional Conduct, and will faithfully adhere to these rules and responsibilities.
 Case 24-11029-1-rel   Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03   Desc
                          Main Document     Page 4 of 6



Dated: New York, New York          Respectfully submitted,
        March 20, 2025             HOGAN LOVELLS US LLP




                                   Christopher R. Bryant
                                   390 Madison Avenue
                                   New York, New York 10017
                                   Telephone: (212) 918-3000
                                   Facsimile: (212) 918-3100
                                   Email: chris.bryant@hoganlovells.com

                                     Counsel to Hogan Lovells US LLP
Case 24-11029-1-rel   Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03   Desc
                         Main Document     Page 5 of 6



                                   Exhibit A
Case 24-11029-1-rel   Doc 170 Filed 03/20/25 Entered 03/20/25 16:15:03   Desc
                         Main Document     Page 6 of 6




            Appellate Division of the Supreme Court
                        of the State of New York
                      Second Judicial Department


      I, Darrell M. Joseph, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                      Christopher Robin Bryant
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 18, 2001,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and         according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of Brooklyn on
                               March 17, 2025.




                                     Clerk of the Court


CertID-00220525
